









Petition for Writ of Mandamus Denied and Opinion filed May 1, 2003









Petition for Writ of Mandamus Denied and Opinion filed
May 1, 2003.

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In The

&nbsp;

Fourteenth Court of Appeals

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&nbsp;

NO. 14-03-00431-CV

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&nbsp;

IN RE MICHAEL D. PETERSON, Relator

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&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

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&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On April 16, 2003, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2003); see
also Tex. R. App. P. 52.

We deny relator=s petition for writ of mandamus.

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&nbsp;

PER CURIAM

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&nbsp;

Petition Denied
and Opinion filed May 1, 2003.

Panel consists of
Justices Yates, Hudson, and Frost.

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